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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS


MAYUKO HOLWILL, Individually and on                Case No.
Behalf of All Others Similarly Situated,
                                                   CLASS ACTION COMPLAINT FOR
                       Plaintiff,                  VIOLATION OF THE FEDERAL
                                                   SECURITIES LAWS
               vs.
                                                   JURY TRIAL DEMANDED
ABBVIE INC., RICHARD A.
GONZALEZ, and WILLIAM J. CHASE,

                       Defendants.



       Plaintiff Mayuko Holwill (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to Plaintiff

and Plaintiff’s own acts, and information and belief as to all other matters, based upon, inter alia,

the investigation conducted by and through Plaintiff’s attorneys, which included, among other

things, a review of the defendants’ public documents, conference calls and announcements made

by defendants, United States Securities and Exchange Commission (“SEC”) filings, wire and

press releases published by and regarding AbbVie Inc. (“AbbVie” or the “Company”), analysts’

reports and advisories about the Company, and information readily obtainable on the Internet.

Plaintiff believes that substantial evidentiary support will exist for the allegations set forth herein

after a reasonable opportunity for discovery.

                                    NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all

persons and entities other than Defendants who purchased or otherwise acquired the publicly

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traded securities of AbbVie between October 25, 2013 and September 18, 2018, both dates

inclusive (the “Class Period”). Plaintiff seeks to recover compensable damages caused by

Defendants’ violations of the federal securities laws and to pursue remedies under Sections 10(b)

and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5

promulgated thereunder, against the Company and certain of its top officials.

       2.      AbbVie discovers, develops, manufactures, and sells pharmaceutical products

worldwide. HUMIRA is AbbVie’s blockbuster drug, which is used to treat Crohn’s disease,

rheumatoid arthritis, ulcerative colitis, psoriasis, and other ailments.

       3.      The Company’s securities are traded on New York Stock Exchange (“NYSE”)

under the ticker symbol “ABBV.”

       4.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (1) AbbVie’s

strategy to increase the sales growth of its blockbuster drug, HUMIRA, relied in part upon illegal

kickbacks and unlawful sales and marketing tactics; (2) such practices would foreseeably lead to

heightened scrutiny by State governments and agencies; and (3) as a result, Defendants’ public

statements were materially false and misleading at all relevant times.

       5.      On September 18, 2018, the State of California, through its Insurance

Commissioner, filed suit against AbbVie, alleging that the Company “systematically and

repeatedly” violated anti-kickback laws by “pa[ying] healthcare providers to prescribe HUMIRA

far in excess of the amount that they would have prescribed this expensive and dangerous drug

absent the illegal kickbacks..”

       6.      On this news, AbbVie’s stock price fell $4.35 per share, or over 4.5%, over the

next two trading days, to close at $91.02 per share on September 19, 2018.
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        7.      As a result of Defendants' wrongful acts and omissions, and the precipitous

decline in the market value of the Company's securities, Plaintiff and other Class members have

suffered significant losses and damages.

                                 JURISDICTION AND VENUE

        8.      The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§78j(b) and §78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. §240.10b-5).

        9.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§1331 and §27 of the Exchange Act.

        10.     Venue is proper in this Judicial District pursuant to §27 of the Exchange Act (15

U.S.C. §78aa) and 28 U.S.C. §1391(b) as AbbVie maintains its principal executive offices in this

Judicial District.

        11.     In connection with the acts, conduct and other wrongs alleged in this Complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mail, interstate telephone communications and the

facilities of the national securities exchange.

                                                  PARTIES

        12.     Plaintiff, as set forth in the accompanying certification, incorporated by reference

herein, purchased AbbVie common stock during the Class Period, and suffered damages as a

result of the federal securities law violations and false and/or misleading statements and/or

material omissions alleged herein.

        13.     Defendant AbbVie is a Delaware corporation, with its headquarters in North

Chicago Illinois. AbbVie discovers, develops, manufactures, and sells pharmaceutical products

worldwide. The Company’s securities are traded on NYSE under the ticker symbol “ABBV.”
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       14.     Defendant Richard A. Gonzalez (“Gonzalez”) has served as AbbVie’s Chief

Executive Officer (“CEO”) since 2012 and serves as Chairman of the Board of Directors.

       15.     Defendant William J. Chase (“Chase”) has served as AbbVie’s Executive Vice

President, Chief Financial Officer (“CFO”) during the Class Period.

       16.     Defendants Gonzalez and Chase are sometimes collectively referred to hereinafter

as the “Individual Defendants.”

       17.     The Individual Defendants possessed the power and authority to control the

contents of the Company’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of the Company’s SEC filings and press

releases alleged herein to be misleading prior to or shortly after their issuance and had the ability

and opportunity to prevent their issuance or to cause them to be corrected. Because of their

positions with the Company, and their access to material information available to them but not to

the public, the Individual Defendants knew that the adverse facts specified herein had not been

disclosed to and were being concealed from the public, and that the positive representations

being made were then materially false and misleading. The Individual Defendants are liable for

the false statements and omissions pleaded herein.

       18.     The Company and the Individual Defendants are referred to herein, collectively,

as the “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                       Factual Background

       19.     HUMIRA is the brand name for adalimumab, a tumor necrosis factor (TNF)

inhibiting anti-inflammatory drug administered by subcutaneous injection. HUMIRA was a

top-selling drug for AbbVie in 2017, with sales of over $12 billion.

       20.     On April 5, 2013, the Company filed its amended annual report for the fiscal year
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ended December 31, 2012 on Form 10-K (the “2012 10-K/A”) with the SEC, which provided the

Company’s annual financial results and position. The 2012 10-K/A was signed by Defendants

Gonzalez and Chase.

         21.    The 2012 10-K/A provided the Company’s strategic objectives, stating in relevant

part:

         Strategic Objectives

         AbbVie’s long-term strategy is to maximize its existing portfolio through new
         indications, share gains, increased reach and geographic expansion in
         underserved markets while also advancing its new product pipeline. To
         successfully execute its long-term strategy, AbbVie will focus on expanding
         HUMIRA sales, advancing the pipeline, expanding its presence in emerging
         markets and managing its product portfolio to maximize value.

         AbbVie expects to continue to drive strong HUMIRA sales growth in several
         ways. AbbVie seeks to expand the HUMIRA patient base by applying for
         regulatory approval of new indications for HUMIRA, treating conditions such
         as axial and peripheral spondyloarthritis and uveitis. AbbVie will also seek to
         drive HUMIRA sales growth by expanding its market share and its presence in
         underserved markets.

(Emphasis added.)

          Materially False and Misleading Statements Issued During the Class Period

         22.    The Class Period begins on October 25, 2013, when the Company filed a Form

8-K with the SEC announcing its third quarter 2013 fiscal results (“3Q 2013 Press Release”). In

the 3Q 2013 Press Release, Defendant Gonzalez stated that AbbVie’s “third-quarter performance

demonstrates the strength and durability of our product portfolio and the continued execution of

our key strategic priorities as an independent biopharmaceutical company[.]”

         23.    On February 21, 2014, the Company filed its annual report for the fiscal year

ended December 31, 2013 on Form 10-K (the “2013 10-K”) with the SEC, which provided the

Company’s annual financial results and position. The 2013 10-K was signed by Defendants

Gonzalez and Chase. The 2013 10-K also contained signed certifications pursuant to the
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Sarbanes-Oxley Act of 2002 (“SOX”) by Defendants Gonzalez and Chase attesting to the

accuracy of financial reporting, the disclosure of any material changes to the Company’s internal

controls over financial reporting, and the disclosure of all fraud.

       24.     The 2013 10-K enumerated the Company’s strategic objectives to “drive

HUMIRA sales growth[,]” stating in relevant part:

       Strategic Objectives

       AbbVie’s long-term strategy is to maximize its existing portfolio of products
       through new indications, share gains, increased geographic expansion in
       underserved markets while also advancing its new product pipeline to meet unmet
       medical needs. To successfully execute its long-term strategy, AbbVie will focus
       on expanding HUMIRA sales, advancing the pipeline, expanding its presence
       in emerging markets and managing its product portfolio to maximize value.

       AbbVie expects to continue to drive strong HUMIRA sales growth in several
       ways. AbbVie seeks to expand the HUMIRA patient base by applying for
       regulatory approval of new indications for HUMIRA, treating conditions such
       as uveitis, hidradenitis suppurativa and pediatric Crohn’s disease. AbbVie will
       also seek to drive HUMIRA sales growth by expanding its market share and its
       presence in underserved markets.

(Emphasis added).

       25.     The 2013 10-K stated the Company is subject to anti-kickback laws and state laws

relating to sales and marketing practices, stating in relevant part:

       Laws and regulations affecting government benefit programs could impose new
       obligations on AbbVie, require it to change its business practices, and restrict
       its operations in the future.

       The health care industry is subject to various federal, state, and international laws
       and regulations pertaining to government benefit programs reimbursement,
       rebates, price reporting and regulation, and health care fraud and abuse. In the
       United States, these laws include anti-kickback and false claims laws, the
       Medicaid Rebate Statute, the Veterans Health Care Act, and individual state laws
       relating to pricing and sales and marketing practices. Violations of these laws may
       be punishable by criminal and/or civil sanctions, including, in some instances,
       substantial fines, imprisonment, and exclusion from participation in federal and
       state health care programs, including Medicare, Medicaid, and Veterans
       Administration health programs. These laws and regulations are broad in scope
       and they are subject to change and evolving interpretations, which could require
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        AbbVie to incur substantial costs associated with compliance or to alter one or
        more of its sales or marketing practices. In addition, violations of these laws, or
        allegations of such violations, could disrupt AbbVie’s business and result in a
        material adverse effect on its business and results of operations.

        26.     On February 20, 2015, the Company filed its annual report for the fiscal year

ended December 31, 2014 on Form 10-K (the “2014 10-K”) with the SEC, which provided the

Company’s annual financial results and position. The 2014 10-K was signed by Defendants

Gonzalez and Chase. The 2014 10-K also contained signed SOX certifications by Defendants

Gonzalez and Chase attesting to the accuracy of financial reporting, the disclosure of any

material changes to the Company’s internal controls over financial reporting, and the disclosure

of all fraud.

        27.     The 2014 10-K enumerated the Company’s strategic objectives for 2015 to

“continue to drive strong HUMIRA sales growth[,]”stating in relevant part:

        2015 Strategic Objectives

        In 2015, AbbVie expects sales performance to be driven by continued strong
        growth from HUMIRA, the launch of VIEKIRA PAK, and sales growth in
        certain key products including Creon and Duodopa, partially offset by a decline
        in several products due to generic competition, including AndroGel 1% and the
        remainder of the lipid franchise. In addition, AbbVie expects to achieve
        operating margin improvements while continuing to invest in its pipeline in
        support of opportunities in oncology, HCV, and immunology, as well as
        continued investment in key products. AbbVie expects to grow operating cash
        flows in 2015, which will enable the company to continue to augment its pipeline
        through concerted focus on strategic licensing, acquisition and partnering activity
        and returning cash to shareholders via dividends and share repurchases.
        AbbVie expects to continue to drive strong HUMIRA sales growth in several
        ways. AbbVie seeks to expand the HUMIRA patient base by applying for
        regulatory approval of new indications for HUMIRA, treating conditions such as
        uveitis and hidradenitis suppurativa. AbbVie will also seek to drive HUMIRA
        sales growth by expanding its market share and its presence in underserved
        markets. AbbVie plans to continue making investments in key emerging markets,
        including Brazil, China, and Russia.

(Emphasis added.)

        28.     The 2014 10-K stated the Company is subject to anti-kickback laws and state laws
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relating to sales and marketing practices, stating in relevant part:

        Laws and regulations affecting government benefit programs could impose new
        obligations on AbbVie, require it to change its business practices, and restrict
        its operations in the future.

        The health care industry is subject to various federal, state, and international laws
        and regulations pertaining to government benefit programs reimbursement,
        rebates, price reporting and regulation, and health care fraud and abuse. In the
        United States, these laws include anti-kickback and false claims laws, the
        Medicaid Rebate Statute, the Veterans Health Care Act, and individual state laws
        relating to pricing and sales and marketing practices. Violations of these laws may
        be punishable by criminal and/or civil sanctions, including, in some instances,
        substantial fines, imprisonment, and exclusion from participation in federal and
        state health care programs, including Medicare, Medicaid, and Veterans
        Administration health programs. These laws and regulations are broad in scope
        and they are subject to change and evolving interpretations, which could require
        AbbVie to incur substantial costs associated with compliance or to alter one or
        more of its sales or marketing practices. In addition, violations of these laws, or
        allegations of such violations, could disrupt AbbVie’s business and result in a
        material adverse effect on its business and results of operations.

        29.     On February 19, 2016, the Company filed its annual report for the fiscal year

ended December 31, 2015 on Form 10-K (the “2015 10-K”) with the SEC, which provided the

Company’s annual financial results and position. The 2015 10-K was signed by Defendants

Gonzalez and Chase. The 2015 10-K also contained signed SOX certifications by Defendants

Gonzalez and Chase attesting to the accuracy of financial reporting, the disclosure of any

material changes to the Company’s internal controls over financial reporting, and the disclosure

of all fraud.

        30.     The 2015 10-K enumerated the Company’s strategic objectives for 2016 to

increase “HUMIRA sales growth[,]” stating in relevant part:

        2016 Strategic Objectives

        AbbVie’s mission is to be an innovation-driven, patient-focused specialty
        biopharmaceutical company capable of achieving top-tier financial performance
        through outstanding execution and a consistent stream of innovative new
        medicines. AbbVie intends to continue to advance its mission in a number of
        ways, including (i) growing revenues through continued strong performance
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       from its existing portfolio of on-market products, including its flagship brands,
       HUMIRA, IMBRUVICA and VIEKIRA PAK, as well as growth from pipeline
       products; (ii) expanding gross and operating margins; (iii) continued investment
       in its pipeline in support of opportunities in immunology, oncology, and virology,
       as well as continued investment in key on-market products; (iv) augmentation of
       its pipeline through concerted focus on strategic licensing, acquisition and
       partnering activity with a focus on identifying compelling programs that fit
       AbbVie’s strategic criteria; and (v) returning cash to shareholders via dividends
       and share repurchases. In addition, AbbVie anticipates several regulatory
       submissions and key data readouts from key clinical trials in 2016.

               AbbVie expects to achieve its revenue growth objectives as follows:

                       • HUMIRA sales growth by driving biologic penetration across
                       disease categories, increasing market leadership, strong
                       commercial execution and expansion to new indications for
                       hidradenitis suppurativa (regulatory approval in the United
                       States and EU achieved in 2015) and uveitis (regulatory
                       submissions in the United States and the EU are under review
                       with approval expected in 2016).

(Emphasis added.)

       31.     The 2015 10-K stated the Company is subject to anti-kickback laws and state laws

relating to sales and marketing practices, stating in relevant part:

       Laws and regulations affecting government benefit programs could impose new
       obligations on AbbVie, require it to change its business practices, and restrict
       its operations in the future.

       The health care industry is subject to various federal, state, and international laws
       and regulations pertaining to government benefit programs reimbursement,
       rebates, price reporting and regulation, and health care fraud and abuse. In the
       United States, these laws include anti-kickback and false claims laws, the
       Medicaid Rebate Statute, the Veterans Health Care Act, and individual state laws
       relating to pricing and sales and marketing practices. Violations of these laws may
       be punishable by criminal and/or civil sanctions, including, in some instances,
       substantial fines, imprisonment, and exclusion from participation in federal and
       state health care programs, including Medicare, Medicaid, and Veterans
       Administration health programs. These laws and regulations are broad in scope
       and they are subject to change and evolving interpretations, which could require
       AbbVie to incur substantial costs associated with compliance or to alter one or
       more of its sales or marketing practices. In addition, violations of these laws, or
       allegations of such violations, could disrupt AbbVie’s business and result in a
       material adverse effect on its business and results of operations.


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        32.     On February 17, 2017, the Company filed its annual report for the fiscal year

ended December 31, 2016 on Form 10-K (the “2016 10-K”) with the SEC, which provided the

Company’s annual financial results and position. The 2016 10-K was signed by Defendants

Gonzalez and Chase. The 2016 10-K also contained signed SOX certifications by Defendants

Gonzalez and Chase attesting to the accuracy of financial reporting, the disclosure of any

material changes to the Company’s internal controls over financial reporting, and the disclosure

of all fraud.

        33.     The 2016 10-K enumerated the Company’s strategic objectives for 2017 to drive

“HUMIRA sales growth[,]”stating in relevant part:

        2017 Strategic Objectives

        AbbVie’s mission is to be an innovation-driven, patient-focused specialty
        biopharmaceutical company capable of achieving top-tier financial performance
        through outstanding execution and a consistent stream of innovative new
        medicines. AbbVie intends to continue to advance its mission in a number of
        ways, including: (i) growing revenues through continued strong performance
        from its existing portfolio of on-market products, including its flagship brands,
        HUMIRA and IMBRUVICA as well as growth from pipeline products; (ii)
        expanding operating margins; (iii) continued investment in its pipeline in support
        of opportunities in immunology, oncology, virology and neurology as well as
        continued investment in key on-market products; (iv) augmentation of its pipeline
        through concerted focus on strategic licensing, acquisition and partnering activity
        with a focus on identifying compelling programs that fit AbbVie’s strategic
        criteria; and (v) returning cash to shareholders via dividends and share
        repurchases. In addition, AbbVie anticipates several regulatory submissions and
        key data readouts from key clinical trials in the next twelve months.

                AbbVie expects to achieve its strategic objectives as follows:

                       • HUMIRA sales growth by driving biologic penetration across
                       disease categories, increasing market leadership, strong
                       commercial execution.

(Emphasis added.)

        34.     The 2016 10-K stated the Company is subject to anti-kickback laws and state laws

relating to sales and marketing practices, stating in relevant part:
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        Laws and regulations affecting government benefit programs could impose new
        obligations on AbbVie, require it to change its business practices, and restrict
        its operations in the future.

        The health care industry is subject to various federal, state and international laws
        and regulations pertaining to government benefit programs reimbursement,
        rebates, price reporting and regulation and health care fraud and abuse. In the
        United States, these laws include anti-kickback and false claims laws, the
        Medicaid Rebate Statute, the Veterans Health Care Act and individual state laws
        relating to pricing and sales and marketing practices. Violations of these laws may
        be punishable by criminal and/or civil sanctions, including, in some instances,
        substantial fines, imprisonment and exclusion from participation in federal and
        state health care programs, including Medicare, Medicaid and Veterans
        Administration health programs. These laws and regulations are broad in scope
        and they are subject to change and evolving interpretations, which could require
        AbbVie to incur substantial costs associated with compliance or to alter one or
        more of its sales or marketing practices. In addition, violations of these laws, or
        allegations of such violations, could disrupt AbbVie’s business and result in a
        material adverse effect on its business and results of operations.

        35.     On February 16, 2018, the Company filed its annual report for the fiscal year

ended December 31, 2017 on Form 10-K (the “2017 10-K”) with the SEC, which provided the

Company’s annual financial results and position. The 2017 10-K was signed by Defendants

Gonzalez and Chase. The 2017 10-K also contained signed SOX certifications by Defendants

Gonzalez and Chase attesting to the accuracy of financial reporting, the disclosure of any

material changes to the Company’s internal controls over financial reporting, and the disclosure

of all fraud.

        36.     The 2017 10-K enumerated the Company’s strategic objectives for 2018 to drive

“HUMIRA sales growth[,]”stating in relevant part:

        2018 Strategic Objectives

        AbbVie’s mission is to be an innovation-driven, patient-focused specialty
        biopharmaceutical company capable of achieving top-tier financial performance
        through outstanding execution and a consistent stream of innovative new
        medicines. AbbVie intends to continue to advance its mission in a number of
        ways, including: (i) growing revenues by diversifying revenue streams, driving
        late-stage pipeline assets to the market and ensuring strong commercial execution
        of new product launches; (ii) continued investment and expansion in its pipeline
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       in support of opportunities in immunology, oncology and neurology as well as
       continued investment in key on-market products; (iii) expanding operating
       margins; and (iv) returning cash to shareholders via dividends and share
       repurchases. In addition, AbbVie anticipates several regulatory submissions and
       key data readouts from key clinical trials in the next twelve months.

               AbbVie expects to achieve its strategic objectives through:

                       • HUMIRA sales growth by driving biologic penetration across
                       disease categories, increasing market leadership, strong
                       commercial execution and expansion.

(Emphasis added).

       37.     The 2017 10-K stated the Company is subject to anti-kickback laws and state laws

relating to sales and marketing practices, stating in relevant part:

       Laws and regulations affecting government benefit programs could impose new
       obligations on AbbVie, require it to change its business practices, and restrict
       its operations in the future.

       The health care industry is subject to various federal, state and international laws
       and regulations pertaining to government benefit programs reimbursement,
       rebates, price reporting and regulation and health care fraud and abuse. In the
       United States, these laws include anti-kickback and false claims laws, the
       Medicaid Rebate Statute, the Veterans Health Care Act and individual state laws
       relating to pricing and sales and marketing practices. Violations of these laws may
       be punishable by criminal and/or civil sanctions, including, in some instances,
       substantial fines, imprisonment and exclusion from participation in federal and
       state health care programs, including Medicare, Medicaid and Veterans
       Administration health programs. These laws and regulations are broad in scope
       and they are subject to change and evolving interpretations, which could require
       AbbVie to incur substantial costs associated with compliance or to alter one or
       more of its sales or marketing practices. In addition, violations of these laws, or
       allegations of such violations, could disrupt AbbVie’s business and result in a
       material adverse effect on its business and results of operations.

(Emphasis added).

       38.     The statements contained in ¶¶ 22-37 were materially false and/or misleading

because they misrepresented and failed to disclose the following adverse facts pertaining to the

Company’s business, operational and financial results, which were known to Defendants or

recklessly disregarded by them. Specifically, Defendants made false and/or misleading
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statements and/or failed to disclose that: (1) AbbVie’s strategy to increase the sales growth of its

blockbuster drug, HUMIRA, relied in part upon illegal kickbacks and unlawful sales and

marketing tactics; (2) such practices would foreseeably lead to heightened scrutiny by State

governments and agencies; and (3) as a result, Defendants’ public statements were materially

false and misleading at all relevant times.

                                   The Truth Begins to Emerge

       39.     On September 18, 2018, Bloomberg published an article entitled, “California Sues

AbbVie Over Alleged Arthritis Drug Kickbacks,” asserting the State of California filed a lawsuit

against AbbVie for engaging in a kickback scheme aimed to boost HUMIRA sales (the

“California Complaint”). The article provides that the lawsuit seeks damages involving “private

insurance claims.” The article states, in relevant part:

       California’s insurance regulator is suing AbbVie Inc., alleging that the
       pharmaceutical giant gave illegal kickbacks to health-care providers in order to
       keep patients on its blockbuster rheumatoid arthritis drug Humira.

       The company “engaged in a far-reaching scheme including both classic kickbacks
       -- cash, meals, drinks, gifts, trips, and patient referrals -- and more sophisticated
       ones -- free and valuable professional goods and services to physicians to induce
       and reward Humira prescriptions,” the California Department of Insurance said in
       a statement.

       According to the state, AbbVie paid for registered nurses that it called
       ambassadors to help doctors with patients who were taking Humira. While the
       nurses were represented to patients as an extension of the doctor’s office, they
       were trained to tout the drug while downplaying its risks, the state said.

       “AbbVie spent millions convincing patients and health care professionals that
       AbbVie Ambassadors were patient advocates -- in fact, the Ambassadors were
       Humira advocates hired to do one thing, keep patients on a dangerous drug at any
       cost,” Insurance Commissioner Dave Jones said in the statement.

       The alleged misconduct “is particularly egregious because it’s well known the
       drug has very adverse side effects,” said Jones in a press conference. Under the
       ambassador system, complaints or concerns about serious infections, blood
       problems, or even heart failure -- all known side effects of Humira -- could go
       unreported to patients’ physicians, he said.
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                                             ***
       Humira is one of the world’s biggest-selling medications. The drug brought in
       $18.4 billion in 2017, accounting for roughly two-thirds of North Chicago,
       Illinois-based AbbVie’s revenue. Private insurers have paid out $1.2 billion in
       Humira-related claims, according to Jones.
                                             ***
       Jones is intervening in a whistleblower complaint filed in California by a nurse
       who was employed as an AbbVie ambassador in Florida several years ago. The
       suit, filed in Alameda County Superior Court, seeks three times the amount of
       each claim made for Humira as a result of the alleged kickbacks. The lawsuit
       involves private insurance claims, said Nancy Kincaid, a spokeswoman for the
       California Department of Insurance.

       40.     According to the California Complaint, relator-plaintiff Lazaro Suarez worked for

AbbVie via its sub-contractor, Quintiles Transactional Holdings, Inc., as a “Nurse Educator” and

“Patient Ambassador” from approximately March 23, 2013 and October 2014. In that position,

he “became aware of AbbVie’s [kickback] scheme nationwide, including in California, because

of his role as a trainer, among other ways. After leaving his employment, Mr. Suarez continued

to obtain information about the allegations [described in the California Complaint], including

through ongoing contacts with AbbVie and Quintiles personnel.” The California Complaint

states the alleged fraudulent conduct occurred from 2013 to the present.

       41.     On this news, shares of AbbVie fell $4.35 per share or over 4.5% over the next

two consecutive trading days to close at $91.02 per share on September 19, 2018.

                     PLAINTIFF’S CLASS ACTION ALLEGATIONS

       42.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

otherwise acquired the publicly traded securities of AbbVie during the Class Period (the

“Class”); and were damaged upon the revelation of the alleged corrective disclosures. Excluded

from the Class are Defendants herein, the officers and directors of the Company, at all relevant

times, members of their immediate families and their legal representatives, heirs, successors or


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assigns and any entity in which Defendants have or had a controlling interest.

       43.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, AbbVie securities were actively traded on the

NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by the Company or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

       44.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       45.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

       46.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               • whether the federal securities laws were violated by Defendants’ acts as alleged

               herein;

               • whether statements made by Defendants to the investing public during the Class

               Period misrepresented material facts about the financial condition, business,

               operations, and management of the Company;

               • whether Defendants’ public statements to the investing public during the Class
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                  Period omitted material facts necessary to make the statements made, in light of

                  the circumstances under which they were made, not misleading;

                  • whether the Individual Defendants caused the Company to issue false and

                  misleading SEC filings and public statements during the Class Period;

                  • whether Defendants acted knowingly or recklessly in issuing false and

                  misleading SEC filings and public statements during the Class Period;

                  • whether the prices of AbbVie securities during the Class Period were artificially

                  inflated because of the Defendants’ conduct complained of herein; and

                  • whether the members of the Class have sustained damages and, if so, what is the

                  proper measure of damages.

        47.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        48.       Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

                  • Defendants made public misrepresentations or failed to disclose material facts

                  during the Class Period;

                  • the omissions and misrepresentations were material;

                  • AbbVie securities are traded in efficient markets;

                  • the Company’s securities were liquid and traded with moderate to heavy volume

                  during the Class Period;
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                • the Company traded on the NYSE, and was covered by multiple analysts;

                • the misrepresentations and omissions alleged would tend to induce a reasonable

                investor to misjudge the value of the Company’s securities; and

                • Plaintiff and members of the Class purchased and/or sold AbbVie securities

                between the time the Defendants failed to disclose or misrepresented material

                facts and the time the true facts were disclosed, without knowledge of the omitted

                or misrepresented facts.

        49.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        50.     Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material

information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.

                                            COUNT I

                Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                                    Against All Defendants

        51.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        52.     This Count is asserted against the Company and the Individual Defendants and is

based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.

        53.     During the Class Period, the Company and the Individual Defendants,

individually and in concert, directly or indirectly, disseminated or approved the false statements


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specified above, which they knew or deliberately disregarded were misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

       54.     The Company and the Individual Defendants violated §10(b) of the 1934 Act and

Rule 10b-5 in that they:

               • employed devices, schemes and artifices to defraud;

               • made untrue statements of material facts or omitted to state material facts

               necessary in order to make the statements made, in light of the circumstances

               under which they were made, not misleading; or

               • engaged in acts, practices and a course of business that operated as a fraud or

               deceit upon plaintiff and others similarly situated in connection with their

               purchases of AbbVie securities during the Class Period.

       55.     The Company and the Individual Defendants acted with scienter in that they knew

that the public documents and statements issued or disseminated in the name of the Company

were materially false and misleading; knew that such statements or documents would be issued

or disseminated to the investing public; and knowingly and substantially participated, or

acquiesced in the issuance or dissemination of such statements or documents as primary

violations of the securities laws. These defendants by virtue of their receipt of information

reflecting the true facts of the Company, their control over, and/or receipt and/or modification of

the Company’s allegedly materially misleading statements, and/or their associations with the

Company which made them privy to confidential proprietary information concerning the

Company, participated in the fraudulent scheme alleged herein.

       56.     Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material
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statements set forth above, and intended to deceive Plaintiff and the other members of the Class,

or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other personnel of the Company to

members of the investing public, including Plaintiff and the Class.

        57.     As a result of the foregoing, the market price of AbbVie securities was artificially

inflated during the Class Period. In ignorance of the falsity of the Company’s and the Individual

Defendants’ statements, Plaintiff and the other members of the Class relied on the statements

described above and/or the integrity of the market price of AbbVie securities during the Class

Period in purchasing AbbVie securities at prices that were artificially inflated as a result of the

Company’s and the Individual Defendants’ false and misleading statements.

        58.     Had Plaintiff and the other members of the Class been aware that the market price

of AbbVie securities had been artificially and falsely inflated by the Company’s and the

Individual Defendants’ misleading statements and by the material adverse information which the

Company’s and the Individual Defendants did not disclose, they would not have purchased

AbbVie securities at the artificially inflated prices that they did, or at all.

        59.     As a result of the wrongful conduct alleged herein, Plaintiff and other members of

the Class have suffered damages in an amount to be established at trial.

        60.     By reason of the foregoing, the Company and the Individual Defendants have

violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and are liable to

the Plaintiff and the other members of the Class for substantial damages which they suffered in

connection with their purchases of AbbVie securities during the Class Period.




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                                            COUNT II

                        Violation of Section 20(a) of The Exchange Act
                              Against the Individual Defendants

       61.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       62.     During the Class Period, the Individual Defendants participated in the operation

and management of the Company, and conducted and participated, directly and indirectly, in the

conduct of the Company’s business affairs. Because of their senior positions, they knew the

adverse non-public information regarding the Company’s business practices.

       63.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to the

Company’s financial condition and results of operations, and to correct promptly any public

statements issued by the Company which had become materially false or misleading.

       64.     Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which the Company disseminated in the marketplace during the Class

Period. Throughout the Class Period, the Individual Defendants exercised their power and

authority to cause the Company to engage in the wrongful acts complained of herein. The

Individual Defendants therefore, were “controlling persons” of the Company within the meaning

of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of AbbVie securities.

       65.     Each of the Individual Defendants, therefore, acted as a controlling person of the

Company. By reason of their senior management positions and/or being directors of the

Company, each of the Individual Defendants had the power to direct the actions of, and


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exercised the same to cause, the Company to engage in the unlawful acts and conduct

complained of herein. Each of the Individual Defendants exercised control over the general

operations of the Company and possessed the power to control the specific activities which

comprise the primary violations about which Plaintiff and the other members of the Class

complain.

        66.       By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Company.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendants as follows:

        A.        Determining that the instant action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class

representative;

        B.        Requiring Defendants to pay damages sustained by Plaintiff and the Class by

reason of the acts and transactions alleged herein;

        C.        Awarding Plaintiff and the other members of the Class prejudgment and

post-judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs;

and

        D.        Awarding such other and further relief as this Court may deem just and proper.

                                 DEMAND FOR TRIAL BY JURY

        Plaintiff hereby demands a trial by jury.

Dated: October 9, 2018
                                                         Respectfully submitted,

                                                         POMERANTZ LLP

                                                         /s/ Jeremy A. Lieberman
                                                         Jeremy A. Lieberman
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                                            J. Alexander Hood II
                                            600 Third Avenue, 20th Floor
                                            New York, NY 10016
                                            Telephone: (212) 661-1100
                                            Facsimile: (212) 661-8665
                                            Email: jalieberman@pomlaw.com
                                            Email: ahood@pomlaw.com

                                            POMERANTZ LLP
                                            Patrick V. Dahlstrom
                                            Ten South LaSalle Street, Suite 3505
                                            Chicago, Illinois 60603
                                            Telephone: (312) 377-1181
                                            Facsimile: (312) 377-1184
                                            Email: pdahlstrom@pomlaw.com

                                            Attorneys for Plaintiff




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